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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                       HAMMOND DIVISION AT LAFAYETTE


 CRAIG F. BROWN,                           )
                                           )
                           Plaintiff       )
                                           )
               vs.                         )       CAUSE NO. 4:13-CV-71 RM
                                           )
 THOMAS BUSCH, et al.,                     )
                                           )
                           Defendants      )


                                OPINION and ORDER

       This cause is before the court on a petition to proceed in forma pauperis on

 an amended complaint filed by pro se plaintiff Craig Brown. Before granting an in

 forma pauperis petition, the court must decide whether the petitioner is able to

 pay the filing fee. 28 U.S.C. § 1915(a)(1). Mr. Brown has filed an affidavit in which

 he represents that he is currently unemployed, is no longer receiving

 unemployment compensation, and doesn’t have the funds needed to pay the filing

 fee. Before the complaint is served on the defendants, however, the court must

 screen the complaint and dismiss it if it is frivolous, malicious, fails to state a

 claim upon which relief may be granted, or seeks monetary damages against a

 defendant who is immune from such relief. 28 U.S.C. § 1915(e)(2); Denton v.

 Hernandez, 504 U.S. 25, 34 (1992); Hardimon v. United States, No. 11-cv-383,

 2011 WL 2693345, at *1 (S.D. Ill. July 12, 2011).

       To survive dismissal, a complaint must contain sufficient facts, accepted as

 true, to state a claim for relief that is “plausible on its face.” Bell Atl. Corp. v.
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 Twombly, 550 U.S. 561, 570 (2007). “A claim has facial plausibility when the

 plaintiff pleads factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009). While a complaint filed by a pro se plaintiff like Mr.

 Brown must be “liberally construed” and “held to less stringent standards than

 formal pleadings drafted by lawyers,” Erickson v. Pardus, 551 U.S. 89, 94 (2007)

 (per curiam) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)), Mr. Brown

 “must do better than putting a few words on paper that, in the hands of an

 imaginative reader, might suggest that something has happened to [him] that

 might be redressed by the law.” Swanson v. Citibank, N.A., 614 F.3d 400, 403 (7th

 Cir. 2010) (emphasis in original).

       Most of Mr. Brown’s claims relate to his dissolution of marriage and related

 custody proceedings in the Tippecanoe County, Indiana, Superior Court. In his

 amended complaint, entitled “Damages for Egregious Civil Rights Violations 42

 U.S.C. § 1983,” Mr. Brown alleges that the thirty-seven named defendants violated

 “his constitutional rights and thus by definition have committed ‘Treason’ and

 have consequently ‘Declared War on the American Public’ with absolute impunity

 all the way up to the Indiana Supreme Court for the past 6 years by which they

 have made an absolute mockery of plaintiff’s civil rights, most notably plaintiff’s

 inalienable Right to Parent his Daughter free from State Interference absent State

 Required ‘Compelling Reason or Cause’ of which no one but no one has ever even

 attempted to produce one single shred of evidence!” Amd. Compl., at 3. Mr. Brown

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 adds that he “fully expects that for every reference to a State Law, there will be a

 Federal Law equivalent law that has been similarly violated by one or more

 defendant.” Amd. Compl., at 3.

       Mr. Brown’s prayer for relief seeks exclusive custody of his daughter for the

 next six years without interference from the state or his ex-wife; monetary relief

 from all the defendants at $1,000 per minute, retroactive to his ex-wife’s initiation

 of dissolution proceedings on April 28, 2008; monetary relief from the state court

 judges and the State of Indiana at the rate of $5,000 per minute for all the time

 he should have been able to spend with his daughter; financial reimbursement

 from his ex-wife for his having had to attend “parenting classes” and take part in

 “professionally supervised visits” with his daughter; an order that the state court

 judges post a bond in the amount of “$30,000 per $1,000,000 they handle” or pay

 twice that amount if they don’t have a bond; reimbursement for the time he has

 spent on this case at a rate of $100 per hour for 40 hour weeks, plus time-and-a-

 half for time over 40 hours, from April 28, 2008 through the present; return of all

 child support moneys he has paid to the State of Indiana, with additional damages

 from the State in the amount of the child support he has paid; payment at $1,000

 per day for each day his driver’s license was suspended; and “additional

 unspecified damages [to] be added to this case as appropriate,” Amd. Compl., at

 11-13.



                       Claims against Individual Defendants

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       Mr. Brown sues the following individual defendants:

       – Rebekah Sanders, his ex-wife, for fraud and child abuse resulting from her

 initiating dissolution proceedings containing false information, stealing marital

 assets, minimizing his parenting time with his daughter, and alienating him from

 his daughter, Amd. Compl., ¶ 2;

       – Jerry and Arlene Sanders, Mr. Brown’s ex-wife’s parents, asking that they

 be charged with fraud and child abuse for helping his ex-wife hide marital assets

 to which he was entitled and gain custody of his daughter, Amd. Compl., ¶¶ 3, 4;

       – Karen Cooper, his ex-wife’s sister, who is alleged to have written a letter

 to a judge defaming Mr. Brown in order to influence the judge to rule in her

 sister’s favor, Amd. Compl., ¶ 5;

       – Aimee Sayers, another sister of his ex-wife, who Mr. Brown says “has

 constantly professed disdain” for him and, as babysitter for his daughter, has

 worked to alienate his daughter from him, Amd. Compl., ¶ 6;

       – Lezlie Tiarks, a friend of his ex-wife, who he alleges showed disdain for

 him and colluded with his ex-wife to alienate his daughter from him by

 exchanging e-mails “jokingly making obscure references to ‘Earl’ [while at the

 same time] Rebekah [Sanders] was making references to the effect of doing

 horrible things to plaintiff, even if only imagined.” Amd. Compl., ¶ 7;

       –   Marcel   Katz,   Mr.   Brown’s       first   attorney   in   the     state   court

 dissolution/custody proceedings, who Mr. Brown says colluded with Rebekah

 Sanders by “fraudulently submitting false statements for the purpose of violating

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 plaintiff’s constitutional rights by influencing Judge Busch in obtaining a ruling

 on [Rebekah] Sanders’ favor,” Amd. Compl., ¶ 11;

       – Charles Deible, another attorney who represented Mr. Brown in the state

 court dissolution/custody proceedings, who Mr. Brown alleges “committed perjury

 and   fraud    in   his   treacherous    traitorous   perjurious    and      collusional

 misrepresentation of plaintiff” and colluded with Rebekah Sanders and her

 counsel “in direct violation of plaintiff’s and minor daughter’s constitutional rights,

 as evidenced by Deible’s abandonment of his motion,” Amd. Compl., ¶ 14;

       – Ladonna Sorenson, Rod Ray, and E. Kent Moore, attorneys who were

 somehow involved in Mr. Brown’s state court dissolution/custody proceedings, are

 also named as defendants who, Mr. Brown claims, “all did their part in sitting on

 their hands” while violating his “5th and 14th Amendments concerning his

 daughter throughout which period of time [Rebekah] Sanders was refusing to let

 plaintiff see his daughter . . . and by their inactions perpetrated said fraud which

 was being committed against plaintiff and/or directly defrauded plaintiff

 themselves,” Amd. Compl., ¶ 13;

       – Andrew Bloch, another attorney who was somehow involved in Mr.

 Brown’s state court dissolution/custody proceedings, is alleged to have “falsified

 evidence (with his office copier set to the max dark setting, he copied and re-

 copied a submission by plaintiff until it was unreadable) by which he then

 accused plaintiff of submitting an unreadable document;” acted “in collusion with

 [Rebekah] Sanders” by submitting false information that led to plaintiff’s

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 incarceration; and “played tag team” with Judge Meade during a hearing in state

 court proceedings. Mr. Brown concludes that “[a] thorough investigation of the

 recorded hearing will likely lead to a few hundred more violations.” Amd. Compl.,

 ¶ 12.

         To the extent Mr. Brown is attempting to raise claims relating to actions or

 inactions of these defendants in connection with the proceedings or the judgment

 in his dissolution of marriage/child custody case in the Tippecanoe Superior

 Court, those claims are barred by the Rooker-Feldman doctrine1, which holds that

 federal district courts lack jurisdiction over lawsuits “‘brought by state-court

 losers complaining of injuries caused by state-court judgments rendered before

 the district court proceedings commence and inviting district court review and

 rejection of those judgments.’” Lance v. Dennis, 546 U.S. 459, 464 (2006) (quoting

 Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005)). The

 Rooker-Feldman doctrine also provides that federal courts don’t have subject

 matter jurisdiction over claims that are “inextricably intertwined” with the state

 court judgment. District of Columbia Court of Appeals v. Feldman, 460 U.S. 462,

 483 n.16 (1983). Because Mr. Brown’s claims of allegedly improper conduct by

 these defendants relate to the state court dissolution/custody proceedings, he is

 barred from raising those claims in this court.




         1
         See Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923), and District of Columbia Court of
 Appeals v. Feldman, 460 U.S. 462 (1983).

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       To the extent Mr. Brown alleges that the actions or inactions of these

 defendants don’t relate to the state court dissolution/custody case, he hasn’t

 stated a claim upon which relief can be granted. To state a claim for relief under

 42 U.S.C. § 1983, a plaintiff must allege that he was deprived of a right secured

 by the Constitution or laws of the United States, and that the deprivation was

 undertaken by a person acting under color of state law. Adickes v. S.H. Kress &

 Co., 398 U.S. 144, 150 (1970). To state a claim based on a conspiracy theory

 under Section 1983, a plaintiff must allege that a private individual and a state

 actor reached an understanding to deprive the plaintiff of his constitutional rights

 and that the individual was a willing participant in joint activity with the State or

 its agent. Adickes v. S.H. Kress & Co., 398 U.S. 144, 152 (1970). Mr. Brown hasn’t

 alleged that any of these defendants acted under color of state law or that any

 defendant reached an understanding and willingly participated with a state actor

 to deprive him of his constitutional rights. See Evers v. Reak, 21 Fed. App’x 447,

 450 (7th Cir. 2001) (“Vague and conclusory allegations of the existence of a

 conspiracy are not enough to sustain a plaintiff’s burden; a complaint must

 contain factual allegations suggesting that the defendants reached a meeting of

 the minds” to violate the plaintiff’s constitutional rights); Gentry v. Duckworth, 65

 F.3d 555, 561 (7th Cir. 1995) (“To recover damages under § 1983, a plaintiff must

 establish that a defendant was personally responsible for the deprivation of a

 constitutional right.”); Davis v. Union Nat. Bank, 46 F.3d 24, 25 (7th Cir. 1994)

 (“To state a § 1983 claim against a private actor, plaintiffs must show that the

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 defendant invoked state authority in such a way that the defendant should be

 considered a state actor.”). Private persons may be sued under § 1983 when they

 act under color of state law, but they may not be sued for merely private conduct,

 no matter how discriminatory or wrongful, London v. RBS Citizens, N.A., 600 F.3d

 742, 746 (7th Cir. 2010), and attorneys, “[w]hether privately retained or appointed

 by a court, . . . do not act under color of law merely by representing their clients.”

 Hefley v. Bruch, 276 Fed. App’x 506, 507 (7th Cir. 2008). Mr. Brown’s vague

 reference to a violation of his “5th and 14th Amendments concerning his

 daughter” is insufficient to “plausibly suggest” a right to relief under Section 1983

 or fairly put the defendants on notice of the claims against them. EEOC v.

 Concentra Health Servs., Inc., 496 F.3d 773, 776 (7th Cir. 2007).

       Mr. Brown’s claims against Rebekah Sanders, Jerry Sanders, Arlene

 Sanders, Karen Cooper, Aimee Sayers, Lezlie Tiarks, Marcel Katz, Charles Deible,

 Ladonna Sorenson, Rod Ray, E. Kent Moore, and Andrew Bloch must be

 dismissed for failure to state a claim upon which relief can be granted.



                          Claims against Court Defendants

       Mr. Brown’s allegations against Thomas Busch and Les Meade, judges who

 were involved in Mr. Brown’s state court dissolution/custody case, relate to

 decisions those judges made in the state court proceedings. Mr. Brown alleges

 that Judge Busch violated his right to constitutionally protected parenting time

 and violated the judicial oath of office, so Judge Busch “willingly forfeited his

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 anticipated future claims to have ‘judicial immunity’ for his wrongdoings.” Amd.

 Compl., ¶ 8. Mr. Brown alleges that Judge Meade, the second judge assigned to

 Mr. Brown’s state court case, engaged in the same actions as those alleged against

 Judge Busch, as well as imprisoning Mr. Brown “under the premise of ‘contempt’

 . . . as a direct consequence of plaintiff exercising his and his minor daughter’s

 constitutional right to pursue life, liberty and happiness,” illegally withholding Mr.

 Brown’s court ordered visitation, and failing to “wipe the (supposed) back child

 support clean.” Amd. Compl., ¶ 9.

       Mr. Brown’s claims against Judge Busch and Judge Meade are claims

 against state court judges for decisions made in state court proceedings. Contrary

 to Mr. Brown’s assertion, judges performing judicial functions have absolute

 immunity against parties complaining about their alleged judicial misconduct.

 Loubser v. Thacker, 440 F.3d 439, 442 (7th Cir. 2006) In addition, under the

 Rooker-Feldman doctrine, this court has no authority to review previously entered

 state court orders or reverse the state court judgment from which the claims arise.

 Crawford v. Countrywide Home Loans, Inc., 647 F.3d 642, 645 (7th Cir. 2011).

 “[N]o matter how erroneous or unconstitutional the state court judgment may be,

 only the Supreme Court of the United States has jurisdiction to review it.” Brown

 v. Bowman, 668 F.3d 437, 442 (7th Cir. 2012). If a state judge errs, “a party’s

 remedy is through the appellate process,” not through a suit against the judge.

 Dawson v. Newman, 419 F.3d 656, 661 (7th Cir. 2005). Mr. Brown has stated no

 actionable claim for relief against Judge Busch or Judge Meade.

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        Mr. Brown sues Carrie Ingram, an administrative law judge who, he says,

  had no territorial or personal jurisdiction over him – “not to even mention that her

  involvement is a complete and total farce in the first place” – and lacked

  impartiality in ruling that his driver’s license would be suspended. Amd. Compl.,

  ¶ 20. As with Judges Busch and Meade, ALJ Ingram’s decision to suspend Mr.

  Brown’s driver’s license was an action taken in her judicial capacity for which she

  is entitled to absolute immunity. See Brokaw v. Mercer County, 235 F.3d 1000,

  1015 (7th Cir. 2000) (“a judge will not be deprived of immunity even if the action

  was in error, was done maliciously, was in excess of his authority, and even if his

  exercise of authority is flawed by the commission of grave procedural errors”).

        Mr. Brown also sues Karen Beard and Jennifer Prange, court reporters for

  the Tippecanoe County court who were involved in Mr. Brown’s state court

  dissolution/custody proceedings. Mr. Brown alleges that Ms. Beard and Ms.

  Prange denied him access to their audio recordings of hearings in the state court

  proceedings, which he claims “is in fact a cover up;” charged him for transcripts

  he claims contain discrepancies between what he believes was said and what the

  reporters certified as having been said at the various hearings; and refused to let

  him “electronically scan [his] court file as is permitted by the Freedom of

  Information Act and the Open Records Act.” Amd. Compl., ¶ 10.

        “Certainly, there is no constitutional right to an absolutely and totally

  accurate transcript.” Loubser v. Pala, 497 F. Supp. 2d 934, 940 (N.D. Ind. 2007);

  see also Cooney v. Casady, Nos. 10-3842 & 11-1757, 2013 WL 4406668, at *5 (7th

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  Cir. Aug. 19, 2013) (“[T]he alleged discrepancies in the transcripts suggest at most

  negligence, on which § 1983 claims cannot be founded.”). “A plaintiff states a

  claim for a violation of his constitutional rights only if the ‘inaccuracies in the

  transcript adversely affected the outcome’ of the proceeding.” Cherry v. Record

  Transcript, Inc., No. 2008 WL 1777745, at *2 (M.D. Fla. Apr. 18, 2008) (quoting

  Tedford v. Hepting, 990 F.2d 745, 747 (3d Cir. 1993)). Mr. Brown hasn’t alleged

  any facts describing how any inaccuracies in the transcript(s) prejudiced him –

  that he was required to pay for a transcript doesn’t support a claim under Section

  1983. Mr. Brown’s summary allegation that the court reporters’ refusal to permit

  him to access their audio recordings was “a cover-up” isn’t accompanied by any

  facts that would suggest a plausible basis for relief nor does it “give the

  defendant[s] fair notice of what [his] claim is and the grounds upon which it

  rests.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 319 (2007). The

  allegations of Mr. Brown’s amended complaint are insufficient to state a claim

  under Section 1983 against Ms. Beard or Ms. Prange.



                Claims against the Tippecanoe County Courthouse,
                     the United States Senate/Congress, and
                       the Indiana State Senate/Legislature

        Mr. Brown alleges that actions of the Tippecanoe County Courthouse, the

  United States Senate/Congress, and the Indiana Senate/Legislature relating to

  federal matching funds, incentive payments to states, Indiana’s distribution of

  Title IV-D federal matching funds, and “financial incentives” provided to judges

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  allowed the named judges “to destroy childrens’ lives by sticking them with the

  least fit parent . . . while the ‘highest earning’ parent can (usually) be ordered to

  pay a much higher child support amount.” Mr. Brown alleges, too, that the State

  of Indiana sanctioned his ex-wife’s “kidnaping” of his daughter and “then

  unconstitutionally ordered plaintiff to underwrite said kidnaping.” Mr. Brown

  “demands that all of these unconstitutional laws and amendments be overturned

  retroactively and all of the billions stolen from American citizens’ Social Security

  Retirement Fund over the past forty years be repaid in full with interest by each

  of the 50+ states/territories on the grounds that this law has done nothing short

  of (for the most part) motivate greedy old men to refuse to order the only

  constitutional acceptable 50/50 custody.” Amd. Compl., ¶ 15.

        As a sovereign, the United States “is immune from suit save as it consents

  to be sued . . . and the terms of its consent to be sued in any court define that

  court’s jurisdiction to entertain the suit.” United States v. Testan, 424 U.S. 392,

  399 (1976). Sovereign immunity can’t be avoided by suing individual agencies or

  branches of the United States government, such as the United States Senate and

  the United States Congress. See Bogan v. Scott-Harris, 523 U.S. 44, 54 (1998)

  (“The Supreme Court has held that ‘[a]bsolute legislative immunity attaches to all

  actions taken in the sphere of legitimate legislative activity.’” (quoting Tenney v.

  Brandhove, 341 U.S. 367, 376 (1951)). “Plaintiffs suing the United States must

  allege an unequivocal waiver of sovereign immunity. . . . Such waivers may not be

  implied, and must be strictly construed in favor of the sovereign.” Lanier-Finn v.

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  Department of the Army, No. 12-cv-3658, 2013 WL 4535847, at *3 (D.Md. Aug.

  26, 2013) (internal quotation and citation omitted). Because Mr. Brown hasn’t

  alleged that the United States has consented to be sued, he hasn’t stated a claim

  against the United States Senate/Congress.

        Congress didn’t intend for Section 1983 to disturb states’ Eleventh

  Amendment immunity, so states and state entities, like the Tippecanoe County

  Courthouse, the Indiana State Senate, and the Indiana Legislature, are not

  “persons” liable for damages under the statute. Will v. Michigan Dep’t of State

  Police, 491 U.S. 58, 63 (1989); Thomas v. Illinois, 697 F.3d 612, 613 (7th Cir.

  2012); Westbrook v. Indiana, No. 3:10-CV-526, 2011 WL 4361571, at *2 (N.D. Ind.

  Aug. 11, 2011). The Indiana General Assembly, composed of the Senate and the

  House of Representatives, is the exclusive unit of the Legislative branch of the

  State of Indiana and so is not a “person” for purposes of Section 1983. IND. CONST.

  ART. 4. In addition, the Indiana Tort Claims Act affords governmental entities and

  employees immunity from liability for any loss relating to “the adoption and

  enforcement of or failure to adopt or enforce . . . a law (including rules and

  regulations).” IND. CODE § 34.13-3-3(8)(A). Mr. Brown hasn’t stated a claim against

  these state entities.



                       Claims against Newton County Sheriff(s)
                      and a Tippecanoe County Sheriff’s Deputy




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        Mr. Brown alleges that unidentified Newton County Sheriffs acquiesced with

  his ex-wife and her family to deny him parenting time with his daughter. He

  claims the Newton County Sheriffs “shirked their responsibility to uphold the law”

  and “perpetrated this fraud and child abuse.” Amd. Compl., ¶ 16. Mr. Brown sues

  an unnamed female deputy officer who, he alleges, “‘magically’ appeared in the

  back of [Judge] Meade’s courtroom (aka ‘prearranged’) at the last minute to take

  plaintiff into custody” based on Judge Meade’s “void order.” Mr. Brown alleges that

  the deputy’s actions were in “direct violation” of the Sheriff’s sworn “oath of office

  to uphold plaintiff’s constitutional rights” and that the “collective collusion, fraud,

  and child abuse was already approved at the highest level in the Tippecanoe

  County Sheriff’s department.” Amd. Compl., ¶ 17.

        The existence of a constitutional right is the first element of any § 1983

  claim. Padula v. Leimbach, 656 F.3d 595, 600 (7th Cir. 2011). Mr. Brown hasn’t

  alleged a constitutional violation by any of these defendants. Even though “legal

  conclusions can provide the framework of a complaint, they must be supported

  by factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Mr. Brown

  hasn’t set forth factual allegations sufficient to permit the court or the defendants

  to determine what acts or omissions allegedly occurred. Bell Atlantic v. Twombly,

  550 U.S. 544, 555 (2007). Mr. Brown hasn’t stated a claim upon which relief can

  be granted as to the Newton County Sheriff(s) and the Tippecanoe County Sheriff’s

  Deputy.




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     Claims against “All Other Jail Staff present throughout his incarceration”

        Mr. Brown alleges that his civil rights were violated by “all other jail staff

  present throughout his incarceration” when he was strip searched, his picture

  taken during processing, and his picture was taken via video while he was in his

  cell, all without his permission. He seeks damages from “the jail facility itself, a

  ‘for profit’ entity, since the facility was negligent in keeping plaintiff there at all.”

  Amd. Compl., ¶¶ 18-19.

        Body cavity searches by jail personnel are “reasonable” because they are

  prudent precautions against smuggling drugs and other contraband into prison,

  Bell v. Wolfish, 441 U.S. 520, 558-560 (1979), and the Supreme Court has refused

  to “recognize as legitimate any subjective expectation of privacy that a prisoner

  might have in his prison cell.” Hudson v. Palmer, 468 U.S. 517, 526 (1984).

  Prisoners are protected by the Eighth Amendment’s prohibition against

  punishment that is “so totally without penological justification that it results in

  the gratuitous infliction of suffering,” Calhoun v. DeTella, 319 F.3d 936, 939 (7th

  Cir. 2003), but Mr. Brown’s complaint has no such allegations. Mr. Brown’s

  conclusory allegations that the search and surveillance practices of unnamed jail

  officers at an unnamed jail facility violated his right to privacy state no claim upon

  which relief can be granted.



                         Claims against Linda L. Kampe-Houtz




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        Mr. Brown alleges that in Linda Kampe-Houtz’s role as guardian ad litem,

  she maliciously attacked his character, gave false testimony, and colluded with

  his ex-wife and others to deprive him of his “constitutionally protected rights to

  parent his daughter.” Amd. Compl., ¶ 21. As already discussed, to state a claim

  for relief under 42 U.S.C. § 1983, a plaintiff must allege that he was deprived of

  a right secured by the Constitution or laws of the United States, and that the

  deprivation was undertaken by a person acting under color of state law. Adickes

  v. S.H. Kress & Co., 398 U.S. 144, 150 (1970). Mr. Brown hasn’t alleged that Ms.

  Kampe-Houtz was acting under color of state law, and his allegation that she

  colluded with other private individuals is insufficient to state a claim under

  Section 1983. See Evers v. Reak, 21 Fed. App’x 447, 450 (7th Cir. 2001) (“Vague

  and conclusory allegations of the existence of a conspiracy are not enough to

  sustain a plaintiff’s burden; a complaint must contain factual allegations

  suggesting that the defendants reached a meeting of the minds” to violate the

  plaintiff’s constitutional rights). Mr. Brown’s allegations against Linda Kampe-

  Houtz are insufficient to state a claim upon which relief can be granted.



                           Claims against Pat Harrington

        Mr. Brown sues Pat Harrington, a Tippecanoe County Prosecutor, who, Mr.

  Brown claims, denied him his “federal and state constitutional right to have equal

  protection under the law” by ignoring all of Mr. Brown’s requests to have his ex-

  wife criminally prosecuted and refusing his requests for public records. Mr. Brown

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  alleges that the fact that the prosecutor’s office “gets 33.4%” of child support

  dollars is “proof of a further case of collusion.” Amd. Compl., ¶ 22.

        Mr. Brown alleges that his equal protection rights were violated, but he

  hasn’t alleged that he is a member of a protected class, that he was treated

  differently than persons outside the protected class, or that Mr. Harrington’s

  actions “stemmed from a discriminatory motive.” Rihm v. Hancock County Public

  Library, No. 2013 WL 3155491, at *7 (S.D. Ind. June 20, 2013); YHWHnewBN v.

  Leak, No. 11 C 5653, 2012 WL 5936285, at *2 (N.D. Ill. Nov. 27, 2012). “[T]he

  decision to prosecute is solely within the discretion of the prosecutor,” Leeke v.

  Timmerman, 454 U.S. 83, 87 (1981), and a private citizen, like Mr. Brown, “lacks

  a judicially cognizable interest in the prosecution or nonprosecution of another.”

  Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973). Mr. Brown’s allegations

  against Mr. Harrington fail to state a claim. See Angie's List, Inc. v. Ameritech

  Pub., Inc., No. 1:07–cv–1630, 2010 WL 2521722, at *2 n.2 (S.D. Ind. June 15,

  2010) (“The allegations of a complaint must contain enough factual matter to

  plausibly suggest that each element of the claimed cause of action actually exists,

  not that the element’s existence is possible, conceivable, or that facts exist that

  are merely consistent with the element’s existence.”).



                    Claims against the Indiana Attorney General
                             and the State of Indiana




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        Lastly, Mr. Brown alleges that the Indiana Attorney General, along with the

  State of Indiana, is responsible for “the actions, inactions and individual and

  collective atrocity of the judges it employs.” Amd. Compl., ¶ 23. The State of

  Indiana isn’t a proper defendant given its immunity under the Eleventh

  Amendment, and the only theory of liability for the state would be respondeat

  superior, which is not permissible in an action brought under § 1983. Smith v.

  Gomez, 550 F.3d 613, 618 (7th Cir. 2008). Mr. Brown hasn’t stated a viable claim

  against the State of Indiana or Indiana’s Attorney General.



                                      Conclusion

        Based on the foregoing, the court GRANTS Mr. Brown’s petition to proceed

  in forma pauperis and DISMISSES his amended complaint pursuant to 28 U.S.C.

  § 1915(e)(2)(B)(ii) for failure to state a claim upon which relief can be granted.

        SO ORDERED.

        ENTERED:       November 26, 2013



                                    /s/ Robert L. Miller, Jr.
                                  Judge, United States District Court




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